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            EXHIBIT C
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                                           July 1, 2020

VIA EMAIL

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 270 Madison Avenue
 New York, NY 10016

Re: In re Keurig Green Mountain Single-Serve Coffee Antitrust Litigation; MDL No. 2542;
    Expert Identification

Dear Counsel:

       Pursuant to the Case Management Scheduling Order (Mar. 26, 2020), ECF No. 887,
Keurig identifies the following witnesses that may offer expert testimony in this matter.
Keurig’s identification of these expert witnesses is neither an admission nor acknowledgement
that Keurig bears the burden of proof on any issue on which the below-listed expert witnesses
may testify, or that expert testimony is necessary for the adjudication of any such issue. Keurig
expects to designate additional expert witnesses in accordance with the Scheduling Order, the
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Federal Rules of Civil Procedure, and all other applicable law. Keurig also reserves the right to
withdraw any of these experts prior to the submission of reports.

Experts expected to offer testimony in all cases

             Name and Business Address
 Arthur J. Gajarsa
 Wilmer Cutler Pickering Hale and Dorr LLP
 60 State Street
 Boston, MA 02109
 Kevin M. Murphy
 The University of Chicago Booth School of Business
 5807 S. Woodlawn Avenue
 Chicago, IL 60637
 Peter E. Rossi
 UCLA Anderson School of Management
 110 Westwood Plaza, B5.15
 Los Angeles, CA 90095
 Keith R. Ugone
 Analysis Group, Inc.
 Park Place Center
 2911 Turtle Creek Blvd., Suite 600
 Dallas, TX 75219

Expert expected to offer testimony in the DPP and IPP cases

            Name and Business Address
 Laila Haider
 Charles River Associates
 1201 F Street NW, Suite 800
 Washington, DC 20004

Expert expected to offer testimony in the JBR case

             Name and Business Address
 Marc A. Hillmyer
 University of Minnesota, Department of Chemistry
 A-4, 139 Smith Hall, 207 Pleasant Street SE
 Minneapolis, MN 55455


                                                     Sincerely,

                                                     /s/ Carl Lawrence Malm

                                                     Carl Lawrence Malm

cc: Short service list (via e-mail)
